Case: 1:14-cv-01437 Document #: 471 Filed: 02/20/20 Page 1 of 1 PageID #:8072

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Gregory Greene, et al.
                                 Plaintiff,
v.                                                     Case No.: 1:14−cv−01437
                                                       Honorable Gary Feinerman
Mark Karpeles, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 20, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Motion for leave to file
excess pages [468] is granted. Motion hearing set for 2/24/2020 [469] is stricken.Mailed
notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
